Case 5:04-cr-00067-RLV-DCK   Document 146   Filed 11/03/05   Page 1 of 6
Case 5:04-cr-00067-RLV-DCK   Document 146   Filed 11/03/05   Page 2 of 6
Case 5:04-cr-00067-RLV-DCK   Document 146   Filed 11/03/05   Page 3 of 6
Case 5:04-cr-00067-RLV-DCK   Document 146   Filed 11/03/05   Page 4 of 6
Case 5:04-cr-00067-RLV-DCK   Document 146   Filed 11/03/05   Page 5 of 6
Case 5:04-cr-00067-RLV-DCK   Document 146   Filed 11/03/05   Page 6 of 6
